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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)
                                                                Ref. Nos. 25683 & 26558



       ORDER (A) AUTHORIZING THE FTX DEBTORS’ ENTRY INTO, AND
    PERFORMANCE UNDER, THE GLOBAL SETTLEMENT AGREEMENT WITH
    THE MDL PLAINTIFFS AND MDL COUNSEL; (B) APPROVING THE GLOBAL
      SETTLEMENT AGREEMENT; AND (C) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of FTX Trading Ltd. and its affiliated debtors and

debtors-in-possession (collectively, the “FTX Debtors”) for entry of an order (this “Order”)

(a) authorizing the FTX Debtors’ entry into, and performance under, the Global Settlement

Agreement attached hereto as Exhibit 1, (b) approving the Global Settlement Agreement, and

(c) granting certain related relief; and this Court having jurisdiction to consider the Motion

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this Court

being able to issue a final order consistent with Article III of the United States Constitution; and

venue of the FTX Bankruptcy Proceedings and the Motion in this district being proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to 28 U.S.C.

§ 157(b); and this Court having found that proper and adequate notice of the Motion and the relief


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these chapter 11 cases, a complete list of debtor
    entities and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
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requested therein has been provided in accordance with the Bankruptcy Rules and the Local Rules,

and that, except as otherwise ordered herein, no other or further notice is necessary; and objections

(if any) to the Motion having been withdrawn, resolved, or overruled on the merits; and upon the

record of these FTX Bankruptcy Proceedings, the Motion and supporting documents; and this

Court having found and determined that the relief set forth in this Order is in the best interests of

the FTX Debtors and their estates, and that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED as set forth herein.

               2.      The FTX Debtors are authorized to enter into, and perform under, the

Global Settlement Agreement.

               3.      The terms of the Global Settlement Agreement are approved in their

entirety.

               4.      The failure to specifically include or reference any particular term or

provision of the Global Settlement Agreement in this Order shall not diminish or impair the

effectiveness of such term or provision.

               5.      The FTX Debtors are authorized and empowered to execute and deliver

such documents, and to take and perform all actions necessary to implement and effectuate the

relief granted in this Order.

               6.      The requirements set forth in Bankruptcy Rule 6004(a) are waived.

               7.      This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.




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               8.     The Court shall retain jurisdiction with respect to any matters, claims, rights

or disputes arising from or related to the Motion or the implementation of this Order.




       Dated: October 15th, 2024                         JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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